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                               EXHIBIT 3
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EXHIBIT A

Property         Sale Date     Amount         Aggregate    GP        BW/PLW        Amount        Equity    Fees/Income to   Sale Costs, Fees,
                 and           Paid to        Amount       Promote   Contr.        Paid to BW    Returns   WDC/NCP**        and Taxes and
                 Amount        Lenders at     Paid to      Fees                    Only (Class   to BW,                     Difference Between
                               Time of Sale   Investors    Paid to                 B)            PW*                        Sale Price and
                                                           B.                                                               Amounts Paid out
                                                           Watson                                                           to Lenders,
                                                                                                                            Investors, etc.
Gateway Retail   11/19/2020    $3,879,204     $1,631,069   $0        $0            $0            $0        $119,000         $320,727 - This
                 for                                                                                                        difference is related
Relevant Docs:   $5,950,000                                                                                                 to rent proration,
WDC0912038-                                                                                                                 CAM Rec, Escrow
WDC0912123                                                                                                                  title, Sales costs of
                                                                                                                            (3.5%), 2020 RE
                                                                                                                            taxes, TI paid to
                                                                                                                            OTR, outstanding AP
                                                                                                                            and other invoices to
                                                                                                                            be paid to different
                                                                                                                            parties.
Stapleton        11/4/2020     $14,616,022    $8,576,188   $0        $89,062       $105,635      $52,817   $0               $560,275 –          This
Senior Living    for                                                 contributed                                            difference is related
                 $24,000,000                                         by PLW                                                 to rent proration,
Relevant Docs:                                                                                                              CAM Rec, Escrow
WDC 0913090                                                                                                                 title, Sales costs,
WDC 0913055                                                                                                                 2020       RE     taxes,
WDC 0913168                                                                                                                 outstanding AP and
WCD 0913205                                                                                                                 other invoices to be
WDC 0913231                                                                                                                 paid to different
WDC 0913269                                                                                                                 parties.
WDC 0913281
WDC 0913287
WDC 0913373
WDC 0913383
WDC 0913406
WDC 0913420
WDC 0913478
WDC 0913507
WDC 0913517
WDC 0913584
WDC 0913590
WDC 0913602
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WDC 0913636
WDC 0913642
WDC 0913678
WDC 0913693
WDC 0913711
WDC 0913735
WDC 0913743
WDC 0913751
WDC 0913760
WDC 0913790
WDC 0913910
WDC 0913937
WDC 0913594
WDC 0913956
WDC 0914010
WDC 0914081
WDC 0913083
WDC 0914087
WDC 0914108
WDC 0914122
WDC 0914124
WDC 0914130
WDC 0914166
WDC 0914205
WDC 0914212
WDC 0914218
WDC0904188

5500 S.          5/29/2020   Refinance   $0       $0                             $0       $0             $575,000 - The
Quebec           for                                                                                     majority equity
                 $575,000                                                                                partner bought out
Relevant Docs:                                                                                           the two minority
WDC0703457-                                                                                              partners for
WDC0703470                                                                                               $575,000. All of
WDC0908318-                                                                                              BW's share was paid
WDC0908326                                                                                               to his ex-wife for
WDC0908341-                                                                                              amounts he owed to
WDC0908357                                                                                               her per the divorce
WDC0908437-                                                                                              agreement for other
WDC0908442                                                                                               prior deals.
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WDC0908648-
WDC0908649
WDC0908745-
WDC0908753
WDC0908755-
WDC0908756
WDC0908757-
WDC0908772
WDC0908773-
WDC0908774
WDC0908775-
WDC0908778
WDC0908779-
WDC0908784
WDC0875075-
WDC0875077
WDC0860181
WDC0908696-
WDC0908729
WDC0904210

Dabling       10/5/2020     $12,954,433   $3,409,689   $0   $531,324      $1,269,934   $0   $255,000   -$1,420,380 - The
Properties    for                                           contributed                                difference is from the
              $17,000,000                                   by PLW                                     $85k that was paid to
Relevant                                                                                               Don Marcotte,
Documents:                                                                                             $50,000 to NHD,
WDC0749431-                                                                                            selling costs (1%),
WDC0749436                                                                                             $115k CM Fees paid
                                                                                                       to NCM; sale costs
                                                                                                       and taxes.

                                                                                                       Mr. Watson did not
                                                                                                       receive any cash at
                                                                                                       closing, as his
                                                                                                       $1,269,634 share was
                                                                                                       paid towards the S.
                                                                                                       Tebo loan which was
                                                                                                       secured by proceeds
                                                                                                       from this asset. One-
                                                                                                       half of the Northstar
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EXHIBIT A

                                                                                                        disposition fee was
                                                                                                        paid to the co-
                                                                                                        Manager, leaving
                                                                                                        $255,000 to
                                                                                                        Northstar for
                                                                                                        operating expenses.


9200 E.       12/2/2020     $6,989,245   $93,597        $0   $5,000        $304        $608   $90,500   $1,870,746 - $1M
Mineral       for                                            contributed                                paid to thrive
              $9,050,000                                     by PLW                                     TI's/Commissions
Relevant                                                                                                and $116k for Thrive
Documents:                                                                                              Free rent, sale costs
WDC0911520-                                                                                             and taxes
WDC0911521
WDC0911213-
WDC0911214
WDC0911314-
WDC0911315
WDC0911807-
WDC0911808
WDC0911219-
WDC0911220
WDC0911304-
WDC0911305
WDC0911720-
WDC0911721
WDC0910856-
WDC0910857
WDC0911225-
WDC0911226
WDC0911216-
WDC0911217
WDC0911246-
WDC0911247
WDC0904248-
WDC0904250
800 Hoyt      12/8/2020     $9,827,201   See column     $0   $250,000      $45,457- The $0    $0        $13,952,251- Still
              for                        on far right        contributed   contribution                 pending
              $24,075,000                                                  in this deal is              distributions/
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EXHIBIT A

                                                                       by BW         from BW                            analysis by CPA. No
                                                                       Holding       Holding                            GP level promote
                                                                                                                        will be received \ and
                                                                                                                        investors are
                                                                                                                        projected to receive
                                                                                                                        approximately 1/2 of
                                                                                                                        their original equity
                                                                                                                        investment. Mr.
                                                                                                                        Watson’s ex-wife
                                                                                                                        received ½ of the
                                                                                                                        distribution per their
                                                                                                                        divorce agreement.
1499 Blake     6/19/2020      $1,166,785    $0              $0         $0            $0             $0        $0        $683,215 - Sale
Street Loft    for                                                                                                      costs and taxes. All
               $1,850,000                                                                                               net proceeds from the
Relevant                                                                                                                sale went to legal
Documents:                                                                                                              counsel to pay
WDC0904214-                                                                                                             outstanding invoices.
WDC0904241                                                                                                              Mr. Watson and
                                                                                                                        Northstar received no
                                                                                                                        net proceeds from
                                                                                                                        closing.
3840 S.        8/11/2020 -    $0            $0              $0         $0            $0             $0        $0        Lender took the asset
Wadsworth      Foreclosure                                                                                              in 2020. No fees
                                                                                                                        went to Defendants.
Dabling land   2/11/2021 -    $64,488       $599,184        $0                                      $0        $14,400   $41,928 - Difference
               $720,000       CAM rec to                                                                                related to selling
                              S. Tebo                                                                                   costs (3% to
                                                                                                                        Cameron Butcher
                                                                                                                        and 2% to CCB and
                                                                                                                        prorated taxes.)
10180 E.       3/31/2021      $0            $1,381,725      $0         $0            $0             $10,228   $0        $8,047 - One-Half of
Colfax         for                                                                                                      Mr. Watson’s share
               $1,400,000                   investors are                                                               was paid to his ex-
                                            the lender in                                                               wife per the divorce
                                            this deal                                                                   agreement

Pinnacle       4/1/2021 for   $23,000,000   $13,567,442     $241,730   $78,500 –     $59,787 –      $119,573 $48,674    $559,544 – Mr.
               $37,675,250                                             contributed   The            - One half          Watson’s GP
                                                                                     contribution   of B.               Promote was paid to
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EXHIBIT A

                                                               by BW     in this deal is   Watson’s               Don Marcotte to
                                                               Holding   from BW           equity                 repay a loan payable
                                                                         Holding and       return                 to him. One-half of
                                                                         his ex-wife       was paid               Mr. Watson’s equity
                                                                         participates      to P.                  returns were paid to
                                                                         in ½.             Watson                 his ex-wife per their
                                                                                           pursuant               divorce agreement.
                                                                                           to                     There is a holdback
                                                                                           Separatio              amount of $525,000
                                                                                           n                      by the lender which
                                                                                           Agreeme                will be distributed in
                                                                                           nt                     future time. The
                                                                                                                  remaining difference
                                                                                                                  is related to closing
                                                                                                                  costs.
Mountain Vista   5/28/2021     $10,511,691   $4,497,397   $0                               $1,324,25   $174,000   $892,662 - There is a
NCP              for                                                                       0                      $450,000 holdback
                 $17,400,000                                                                                      amount to Orntic as
                                                                                                                  escrow agent, a 1%
                                                                                                                  broker commission,
                                                                                                                  legal costs, and other
                                                                                                                  expenses. Mr.
                                                                                                                  Watson’s equity
                                                                                                                  return was wired at
                                                                                                                  Closing to S. Tebo to
                                                                                                                  pay down the
                                                                                                                  remaining
                                                                                                                  outstanding balance
                                                                                                                  on a loan which was
                                                                                                                  secured by this asset.
Airplane         6/24/2021 -   $950,000      $0           $0   $0        $0                $0          $0         $100,000 - There is
                 $1,050,000                                                                                       still an outstanding
                                                                                                                  loan amount of
                                                                                                                  $536,465 and a
                                                                                                                  $300,000 promissory
                                                                                                                  note as an obligation
                                                                                                                  of NCP Freedom,
                                                                                                                  LLC and WDC
                                                                                                                  Holdings LLC,
                                                                                                                  guaranteed by Mr.
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EXHIBIT A

                                                                                                                           Watson. The
                                                                                                                           difference was used
                                                                                                                           for closing costs.
                                                                                                                           There was no
                                                                                                                           distribution model
                                                                                                                           for this sale.


*Total Income to Mr. Watson from the Equity Returns Column was $120,331.50 after the required payments to others are calculated.
**The funds payable to Northstar were used for operational expenses of the company.
